              IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTEN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
                  CASE NO. 1:21 CV 00305-MR-WCM

BRO T. HESED-EL,                       )
                                       )
      Plaintiff,                       )      DEFENDANTS ROBIN BRYSON,
                                       )      MISSION HOSPITAL, INC. AND
vs.                                    )      ANC HEALTHCARE, INC.’S
                                       )      RESPONSE TO PLAINTIFF’S
                                       )      MOTION FOR JUDICIAL
ROBIN BRYSON, et. al.,                 )      NOTICE
                                       )
      Defendant.                       )


      NOW COME DEFENDANTS Robin Bryson, Mission Hospital, Inc. and

ANC Healthcare, Inc. (collectively herein “these Mission Defendants”) and respond

to Plaintiff’s Motion for Judicial Notice (hereinafter “Plaintiff’s Second JN Motion”)

by showing unto the Court the following:


      Requested Fact #1: No objection.

      Requested Fact #2: No objection.

      Requested Fact #3: No objection.

      Requested Fact #4: No objection.

      Requested Fact #5: No objection.

      Requested Fact #6: Objection. This requested fact is a mischaracterization

of 8 FAM 403. However, given the Court’s suggestion in that Order entered on

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April 6, 2020 (Doc. 44) that additional submissions regarding the Plaintiff’s name

may be better addressed in person at the upcoming hearing, these Mission

Defendants will wait until the hearing to further address this point.

      Requested Fact #7: No objection.

      Requested Fact #8: No objection.

      Requested Fact #9: No objection.

      Requested Fact #10: Objection. The final sentence of this requested fact is

inaccurately taken out of context by failing to show that such a continuance may be

obtained by any of three parties: the Court, Respondents’ counsel and the State.

      Requested Fact #11: No objection.



      Respectfully submitted this the 11th day of April, 2022.


                                             / s/ Richard S. Daniels
                                             N.C. Bar No. 8716
                                             Attorney for Defendants Robin Bryson,
                                             Mission Hospital, Inc. and ANC
                                             Healthcare, Inc.
                                             Patla, Straus, Robinson & Moore, P.A.
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                         CERTIFICATE OF SERVICE

      I hereby certify that on April 11, 2022, I served the foregoing Defendants
Robin Bryson, Mission Hospital, Inc. and ANC Healthcare, Inc.’s Response To
Plaintiff’s Motion For Judicial Notice by electronically filing same with the Clerk
of Court using the CM/ECF system and by depositing a copy, contained in a first-
class postage-paid wrapper, into a depository under the exclusive care and custody
of the United States Postal Service, addressed as follows:
                                Bro. T. Hesed-El
                           c/o Taqi El Agabey Mgmt.
                           30 N. Gould Street, Suite R
                              Sheridan, WY 82801

A courtesy copy will be emailed to the Plaintiff at: teamwork3@gmail.com.


      This the 11th day of April, 2022.

                                            / s/ Richard S. Daniels
                                            N.C. Bar No. 8716
                                            Attorney for Defendants Robin Bryson,
                                            Mission Hospital, Inc. and ANC
                                            Healthcare, Inc.
                                            Patla, Straus, Robinson & Moore, P.A.
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